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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    AON PLC and AON GROUP, INC.,

                          Plaintiffs,

            vs.
                                                                 CASE NO. 1:19-cv-07504
    INFINITE EQUITY, INC., TERRY
    ADAMSON, JON BURG, DANIEL                                    Hon. Martha M. Pacold
    COLEMAN, ELIZABETH STOUDT, and
    TYLER EVANS,

                          Defendants.


                             PLAINTIFFS AND CONSENT DEFENDANTS’
                                  STATUS REPORT REGARDING
                             EXPEDITED DISCOVERY SCHEDULE AND
                                    FORENSIC EXAMINATION

           WHEREAS, on November 13, 2019, Plaintiffs filed a lawsuit against Infinite Equity,

Inc., Terry Adamson, Jon Burg, Daniel Coleman, Elizabeth Stoudt, and Tyler Evans in the

United States District Court for the Northern District of Illinois in the above-captioned case 1 (the

“Action”);

           WHEREAS, Plaintiffs and Consent Defendants agree, as set forth herein, submit the

following status report regarding mutual expedited discovery and a forensic inspection of

MyPerformanceAwards and PeerTracker;

           WHEREAS, where disputes remain outstanding, Plaintiffs and Consent Defendants set

forth their positions herein for the Court to consider in ruling on an expedited discovery

schedule:




1
    Burg, Coleman, Stoudt, Evans, and Infinite Equity are referred to herein as the “Consent Defendants.”
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  1.     Written Discovery and Document Production.

         a. Plaintiffs and Consent Defendants agree that, as between Plaintiffs and
            Consent Defendants: (i) Plaintiffs, collectively, shall be limited to 10
            interrogatories and 10 requests for production, and (ii) Consent Defendants,
            collectively, shall be limited to 30 interrogatories and 30 requests for
            production. Plaintiffs, collectively, shall be limited to 20 requests for
            admission, and Consent Defendants, collectively, shall be limited to 20
            requests for admission.

         b. Plaintiffs and Adamson agree that, as between Plaintiffs and Adamson: (i)
            Plaintiffs, collectively, shall be limited to 5 interrogatories, 5 requests for
            production, and 5 requests for admission; and (ii) Adamson shall be limited to
            5 interrogatories, 5 requests for production, and 5 requests for admission.

         c. All interrogatories, requests for production, and requests for admission shall
            be answered individually by each Defendant and each Plaintiff; provided,
            however, that the Parties may format responses as appropriate.

         d. The parties wish to bring the following dispute to the Court’s attention:

            Plaintiffs’ Position: The parties had always agreed that they shall respond to
            written discovery requests and complete their respective document
            productions within 21 days of receipt of requests. This was never a disputed
            issue in all of the parties’ discussions. On Monday, February 10, 2020,
            Plaintiffs served Defendants with written discovery. To date, Consent
            Defendants have yet to serve any discovery on Plaintiffs. Then, the Friday
            afternoon this submission was due, Consent Defendants sought for the first
            time to extend the time they have to respond to written discovery by allowing
            21 days from the “submission of this stipulation,” thereby allowing Consent
            Defendants extra time to respond to written discovery. The parties should
            have the same amount of time to respond to discovery, counted from the date
            of service.

            Consent Defendants’ Position: Consent Defendants’ proposal still includes a
            21-day response period for discovery requests. The parties have not begun
            expedited discovery. Plaintiffs served discovery before the parties had
            reached any agreements on the scope of expedited discovery, including the
            number of requests for each party or the date of service of those requests.
            Consent Defendants merely sought to tie response dates to the submission of a
            formal governing order.

  2.     Depositions.

         a. Fact depositions shall be completed on or before April 20, 2020. The parties
            wish to bring the following dispute to the Court’s attention:

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            Plaintiffs’ Position: Plaintiffs propose that Plaintiffs be entitled to ten
            depositions, collectively, and Consent Defendants be entitled to ten
            depositions, collectively. Consent Defendants want to limit each side to five
            depositions each. But, there are six Defendants in this case. If Consent
            Defendants’ position is accepted, Plaintiffs would not be able to depose all of
            the Defendants in this case. Further, contrary to Consent Defendants’ position
            that Plaintiffs named defendants “who have little or nothing to do with the
            allegation at issue here,” Plaintiffs brought detailed allegations against each of
            the Consent Defendants, set forth in the over 200 paragraph Complaint, Dkt.
            1, describing how they worked in concert together and continue to do so at
            Infinite Equity, where Burg, Coleman, and Stoudt are all Partners. Although
            not a Consent Defendant, Adamson is also a key witness. As detailed in the
            Complaint, Adamson was a key player in discussions with Consent
            Defendants regarding creating a rival equity services business and the
            solicitation of Aon employees to leave Aon—and has knowledge of facts
            central to Aon’s likelihood of success on its breach of fiduciary duty and
            breach of contract claims. As detailed in Aon’s motion for temporary
            restraining order, breach of contract and breach of fiduciary duty are valid
            claims to support an injunction, and Aon intends to move for a preliminary
            injunction on this basis. Dkt. 24, 37. As described in Aon’s papers, Consent
            Defendants continue to enjoy the fruits of their unlawful conduct and breaches
            to Aon’s irreparable detriment, and can plainly be enjoined for same. Id. Aon
            does not wish to belabor this point with briefing in this joint status report on
            these topics, but refers the Court to the extensive briefing already submitted
            on these issues at Dkt. 24 and Dkt. 37.

            Moreover, Plaintiffs filed a multi-count Complaint. There are at least five
            other former Aon employees who now work for Infinite Equity and are key
            witnesses in this case. Further, since the filing of the Complaint, Aon has
            discovered that Infinite Equity is now servicing over 40 Aon clients who are
            also key witnesses in this case and have evidence directly relevant to the
            preliminary injunction hearing. This is not a small case, and given the
            incredible number of relevant and key witnesses, Plaintiffs’ position that each
            side is entitled to, collectively, ten depositions is eminently reasonable.

            Consent Defendants’ Position: Consent Defendants’ position is that
            expedited discovery must be limited to the issues necessary to be addressed at
            the preliminary injunction hearing - namely, ongoing conduct that could result
            in irreparable harm to Plaintiffs. Accordingly, Consent Defendants proposed a
            limit of five (5) depositions for Plaintiffs, collectively, and for Consent
            Defendants, collectively. Consent Defendants further proposed that if either
            Plaintiffs or Consent Defendants believe additional depositions are necessary,
            the parties should meet and confer and seek leave of Court.




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            Plaintiffs requested that the Consent Defendants, collectively, be able to
            conduct 10 depositions and Plaintiffs, collectively, be able to conduct 10
            depositions. This proposal is far too overbroad and inconsistent with the
            concept of expedited discovery.

            To trump up their claims, Plaintiffs have named a number of defendants who
            have little or nothing to do with the allegations at issue here. This does not
            entitle them to additional expedited discovery. Indeed, Plaintiffs have not even
            demonstrated the necessity of depositions of all parties. For example, the
            knowledge Defendant Adamson has, if any, goes to the underlying merits of
            Plaintiffs’ claims, not the irreparable harm or likelihood of success showings
            required at a preliminary injunction hearing. Mr. Adamson is only claimed to
            have knowledge of Consent Defendants’ purported breaches of fiduciary and
            contract duty while employed at Aon. Consent Defendants, however, cannot
            be enjoined from breaching any past fiduciary duty to Aon – they are no
            longer employed and thus no longer owe a fiduciary duty that can be the
            subject of an injunction. See, e.g., Indus. Packaging Supplies, Inc. v.
            Channell, No. 18 civ. 165, 2018 WL 2560993, at *4 (N.D. Ill. June 4,
            2018)(“In Illinois, employees owe fiduciary duties to their employers while
            they are employed, … but there is no post-employment duty that prevents an
            employee from competing with his former employer post-employment.”)
            (internal citations omitted). Nor can the Consent Defendants be enjoined from
            past breaches of contract. Indeed, Mr. Adamson does not work at Infinite
            Equity and has no knowledge of any ongoing conduct that could possibly be
            enjoined going forward. Plaintiffs have no justification for such a high number
            of deponents at this juncture. Additionally, Ms. Stoudt is not subject to any
            contractual restrictions and Plaintiffs do not allege she took any code.

            To the extent Plaintiffs feel the need for additional depositions and discovery,
            they are free to pursue it following the preliminary injunction hearing. But to
            attempt to conduct full, wide-ranging discovery in such an abridged timeframe
            would unduly burden Consent Defendants and abrogate their rights to develop
            a full evidentiary record. Indeed, Plaintiffs’ original expedited discovery
            motion only sought to depose parties, not additional fact witnesses. See Dkt.
            No. 26.

  3.     Expert Discovery.

         a. To the extent any Party intends to rely upon expert testimony, the Parties
            agree that they must make the disclosures required by Fed. R. Civ. P. 26(a)(2)
            on or before May 7, 2020.

         b. The Parties agree that expert depositions shall be completed on or before,
            May 21, 2020. After receipt of expert disclosures, the Parties shall promptly
            meet and confer to schedule expert depositions.



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            Plaintiffs’ Position: As set forth below, Plaintiffs’ position is that expert
            discovery is necessary prior to a preliminary injunction hearing.

            Consent Defendants’ Position: As set forth below, Consent Defendants’
            position is that a full expert discovery period is unnecessary prior to a
            preliminary injunction hearing and will simply delay.

  4.     Forensic Review of MyPerformanceAwards and PeerTracker. Plaintiffs propose
         the following provision governing a forensic review of MyPerformanceAwards
         and PeerTracker. Consent Defendants’ position is set forth below.

         a. Plaintiffs and Consent Defendants may each retain the services of an
            independent expert qualified in forensic analysis of source code to conduct
            forensic analysis of MyPerformanceAwards and PeerTracker.

         b. Within three (3) business days of entry of this Stipulation, Consent
            Defendants will produce to Plaintiffs’ designated forensic expert all iterations
            and versions of the MyPerformanceAwards source code; the source code
            control system metadata (revision control system metadata); requirement,
            design, and test specifications; project plans (including GANT charts) for
            MyPerformanceAwards; and all data contained on project management
            software for MyPerformanceAwards (including JIRA or similar software)
            (and any username, password, or other access credentials). Within three (3)
            business days of entry of this Stipulation, Plaintiffs will produce to Consent
            Defendants’ designated forensic inspector the version of the PeerTracker
            source code in place when Tyler Evans resigned his employment with Aon
            (and any username, password, or other access credentials). The methods of
            production and confidentiality protections for the exchange of the source code
            information set forth in this subsection (the “source code material”) are
            described below.

         c. The source code material for MyPerformanceAwards and PeerTracker may be
            designated ATTORNEYS-EYES ONLY-SOURCE CODE and afforded all of
            the protections afforded ATTORNEYS-EYES ONLY materials under the
            parties’ Confidentiality Agreement, except materials marked ATTORNEYS-
            EYES ONLY-SOURCE CODE may also be disclosed to one party
            representative for the Consent Defendants and one party representative for
            Plaintiffs. The party representatives shall be bound by the Confidentiality
            Agreement in this case, and this Stipulation.

         d. Any source code material produced in discovery shall be made available for
            inspection, in a format allowing it to be reasonably reviewed and searched.
            Source code material will be produced through secure means. The receiving
            party shall maintain all paper copies of any printed portions of the source code
            material in a secured, locked area. Any paper copies used during a deposition
            shall be retrieved by the producing party at the end of each day and must not

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             be given to or left with a court reporter or any other unauthorized individual.
             The receiving party shall maintain a record of any individual who has received
             or reviewed any portion of the source code material in electronic or paper
             form. At the conclusion of the litigation, the receiving party will return the
             source code material to the producing party via secure means along with an
             affidavit by each person who received or reviewed the source code material
             declaring under oath that they did not retain a copy of any portion of the
             source code material.

         e. The costs of any forensic inspection of the source code material shall be borne
            by the Party requesting the inspection.

  Plaintiffs’ Position: Plaintiffs seek all iterations and versions of the
  MyPerformanceAwards source code; the source code control system metadata
  (sometimes referred to as the revision control system metadata); requirement, design, and
  test specifications; project plans (including GANT charts) for MyPerformanceAwards;
  and all data contained on project management software for MyPerformanceAwards
  (including JIRA or similar software). Consent Defendants, on the other hand, wish to
  limit the information provided to the forensic expert to only the MyPerformanceAwards
  source code.

  Consent Defendants’ proposal would not provide the forensic expert with the information
  that he needs in order to perform his analysis. Production of just the
  MyPerformanceAwards source code is a mere snapshot in time, and specifically a time
  long after Consent Defendants gained access to PeerTracker. It does not provide the
  expert with the information he needs to determine if the source code was created using
  Aon’s proprietary PeerTracker code—which is the very point of the forensic review. In
  order to evaluate this, the forensic expert needs to review all iterations of the source code,
  starting at the beginning. The source code control system metadata allows him to
  determine how the source code originated, what was changed, by whom, and how it was
  changed over time. This allows the expert to opine as to whether the source code as it
  originally existed, or as it exists in its current form, or anywhere in between, utilized
  Aon’s confidential, proprietary, and trade secret PeerTracker code.

  Moreover, requirement, design, and test specifications; project plans (including GANT
  charts); and all data contained on project management software (including JIRA or
  similar software) are other sources of data and evidence the forensic expert commonly
  and routinely reviews during a source code comparison analysis. These sources of
  evidence and information will be used by the forensic expert to inform his opinion as to
  whether MyPerformanceAwards utilized Aon’s proprietary, confidential and trade secret
  information.

  All of the above information is necessary to decide Plaintiffs’ anticipated motion for a
  preliminary injunction. Consent Defendants’ claim that Plaintiffs will only be harmed
  going forward if the “current” code of MyPerformanceAwards is based on the
  PeerTracker source code. This could not be farther from the truth. If the

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  MyPerformanceAwards code was ever based on PeerTracker, this is a trade secret
  violation. This is exactly why all iterations and metadata are required.

  Further, Consent Defendants claim that because the motion for expedited discovery
  mentioned only “source code” that Plaintiffs should be precluded from obtaining the
  information they need to complete the forensic analysis. The motion for expedited
  discovery did seek all “copies or iterations of the code to MyPerformanceAwards.” Dkt.
  26-1, ¶ 4. Further, the motion was filed before Plaintiffs were able to consult with their
  retained expert, who has since advised additional materials that should be reviewed in the
  analysis. This is also word play. Parties frequently seek “documents” in discovery,
  which means all varieties of information (emails, text messages, etc.).

  In addition, Consent Defendants cite an “imbalance” in the information to be provided.
  To the contrary, Plaintiffs’ proposal is narrowly tailored to the information needed for
  Plaintiffs’ anticipated motion for preliminary injunction. The information required for
  the forensic analysis is different as between the parties. Aon did not take any proprietary
  information concerning MyPerformanceAwards that would necessitate production of a
  decade’s worth of code, metadata, specifications, project plans, and data from project
  management software relating to PeerTracker. This information, as it pertains to
  PeerTracker, is completely irrelevant. But, as set forth above, this information is highly
  relevant for MyPerformanceAwards and the contemplated forensic analysis (and far less
  burdensome, given that MyPerformanceAwards has been in existence for less than a
  year). If Consent Defendants have nothing to hide this shouldn’t be an issue.

  Indeed, Consent Defendants have consistently taken the position that they have nothing
  to hide. It is perplexing that they would fight to withhold this information from the
  forensic expert. Further, Consent Defendants have repeatedly taken the position that this
  process is supposed to be expedited. By providing this information to the expert sooner,
  rather than later in written discovery and document production (as this information is no
  doubt plainly relevant to the issues in this case), the expert will have time to review the
  materials and render an opinion on an expedited basis. Again, MyPerformanceAwards
  has been on the market for less than a year, so the production of this information is
  neither burdensome nor voluminous.

  Last, Consent Defendants’ proposal to use one neutral examiner is unacceptable for at
  least three reasons. First, this was never the parties’ agreement or understanding.
  Plaintiffs previously agreed with Consent Defendants’ prior counsel, as part of
  negotiations over the Consent Order, that each side may retain their own experts for the
  forensic examination. Plaintiffs have been operating accordingly. Plaintiffs would be
  happy to submit emails memorializing this agreement to the Court, upon request.
  Second, this case will involve a lot of forensic evidence. Plaintiffs wish to, and are
  entitled to, obtain an expert of their choosing (and not one they have to “mutually agree”
  to with Consent Defendants), who will, in addition to rendering an expert opinion, also be
  available to discuss the forensic evidence with counsel on a privileged basis. Plaintiffs
  should not be forced to “share” an expert with Consent Defendants. Third, under
  Plaintiffs’ proposed schedule, Consent Defendants should provide the forensic expert

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  with the necessary documents for him to conduct his examination within three business
  days of entry of the expedited schedule. Thus, there is no delay.

  Consent Defendants’ Position: Consent Defendants contend that expedited discovery
  must be limited to information necessary to decide Plaintiffs’ anticipated application for a
  preliminary injunction. The relevant part of that analysis is whether the source code for
  MyPerformanceAwards is based on PeerTracker’s source code. Plaintiffs will only be
  harmed on a going-forward basis if the current code for MyPerformanceAwards is based
  on PeerTracker’s code. This analysis can be accomplished with a simple, side-by-side
  comparison of the two codes by one neutral, mutually agreed-upon expert. Indeed, in
  Plaintiffs’ motion for expedited discovery, Plaintiffs only requested a source code
  information and did not request all of the voluminous and burdensome information set
  forth above. See Dkt. No. 26, at pp. 3, 9.

  Consent Defendants therefore propose that the parties provide the current source codes of
  both programs to a single, mutually agreed-upon expert in advance of the preliminary
  injunction hearing. This proposal will streamline expert discovery and avoid the need for
  full-blown warring experts, reports and depositions prior to a preliminary injunction
  hearing (which would be nearly impossible to accomplish and would almost certainly
  delay a preliminary injunction hearing further). Tellingly, Plaintiffs did not include a
  request for expert discovery in their original motion for expedited discovery. See Dkt.
  No. 26. And it bears noting that, if Plaintiffs’ request for the above information is
  granted, and Plaintiffs are not required to provide similar information from PeerTracker
  to Consent Defendants, Plaintiffs’ expert will have approximately 10 years of information
  from PeerTracker (dating back to its inception) from which he may cherry-pick his
  analysis, while Consent Defendants will only be limited to the analyzing the current code
  of PeerTracker compared to MyPerformanceAwards. This imbalanced exchange will
  prejudice Defendants’ ability to mount a full defense. Although Consent Defendants
  disagree that this information is relevant and maintain that exchange of this information
  will unnecessarily expand and complicate expedited discovery, if the Court grants
  Plaintiffs’ request, Consent Defendants cannot be hamstrung by not having the same
  information from Plaintiffs for their experts to analyze.

  Consent Defendants have nothing to hide. If Plaintiffs wish to explore the greater context
  surrounding the development of MyPerformanceAwards, they can seek it during the full
  discovery process (and Consent Defendants reserve the right to challenge that request).
  But it pertains to the underlying factual merit of their claims, not the showing of
  irreparable harm and likelihood of success on the merits required at the preliminary
  injunction stage. Consent Defendants would then, at that time, seek similar information
  about PeerTracker from its inception to date. It is at that point, under normal time
  constraints, that the parties can explore the broader context surrounding the issue.
  Any informal discussions with Consent Defendants’ prior counsel are irrelevant. Plainly,
  no agreement was reached on this point. Consent Defendants instead ask for Plaintiffs to
  focus on limiting discovery, given the posture of the case and what will be appropriate for
  a preliminary injunction hearing. The plain language of the Consent Order only requires



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  “a forensic inspection” of the two programs. Dkt. No. 41. The parties could have chosen
  to incorporate a requirement of two experts into the Consent Order, but they did not.

  5.     Preliminary Injunction. The parties agree to the following briefing schedule for
         Plaintiffs’ anticipated motion for a preliminary injunction.

         a. Plaintiffs’ moving brief: June 4, 2020.

         b. Consent Defendants’ opposition: June 18, 2020.

         c. Plaintiffs’ reply: June 25, 2020.

         d. The parties agree to request a hearing date, subject to the Court’s availability,
            on or before July 10, 2020.

             Plaintiffs’ Position: Plaintiffs are trying to be reasonable with the proposed
             schedule. Consent Defendants insisted on 30 interrogatories and 30 document
             requests. There are six defendants. Consent Defendants admit to taking over
             40 Aon clients. This is not a small case, and Plaintiffs are trying to be
             realistic. Further, Plaintiffs have been ready to start discovery for weeks, and
             only the change of Consent Defendants’ counsel has delayed the start of
             discovery. Plaintiffs reserve the right to move for an extension of the Consent
             Order.

             Consent Defendants’ Position: Consent Defendants have maintained that the
             extensive scope of discovery proposed by Plaintiffs is unnecessary at this
             juncture and were Plaintiffs to limit discovery only to issue relevant to the
             preliminary injunction hearing, there is no reason why relevant discovery
             could not be completed well in advance of the expiration of the Consent
             Order. Nevertheless, in the interest of compromise, Consent Defendants are
             willing to agree to the schedule above but emphasize that Defendants do not
             consent and vehemently oppose any extension of the Consent Order, which is
             overly broad and unduly onerous to Consent Defendants, entered in this action
             on January 29, 2020, which expires on April 28, 2020. Indeed, Defendants
             fully expect that, if expedited discovery extends beyond April 28, 2020, there
             will no injunctive relief in place for the extended period of discovery. Consent
             Defendants will oppose any application to extend by Plaintiffs to extend that
             relief.

             Contrary to Plaintiffs’ assertions, Consent Defendants’ change of counsel has
             done nothing to delay the start of discovery. In fact, Consent Defendants’ new
             counsel contacted Plaintiffs’ counsel the very day they appeared in this case
             and discussions related to expedited discovery began immediately. The only
             thing causing delay here is Plaintiffs’ refusal to limit the scope of expedited
             discovery in a reasonable manner.



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  6. Plaintiffs and Consent Defendants reserve the right to seek additional discovery after the
     expiration of the Consent Order.



s/ James M. Witz                                s/ Jeannil Boji
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ATTORNEYS FOR AON PLC and AON
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      SO ORDERED
      This the __ day of February, 2020.

                                                          ______________________________
                                                          Hon. Martha M. Pacold




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